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      In The United States Court of Federal Claims
                                            No. 02-25L

                                     (Filed: June 17, 2011)
                                          __________

 JICARILLA APACHE NATION,
 formerly JICARILLA APACHE TRIBE,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                               Defendant.

                                            _________

                                             ORDER
                                            _________

        Oral argument on defendant’s pending motions for partial summary judgment will be
held in this case on Friday, July 22, 2011, in the United States Court of Federal Claims, National
Courts Building, 717 Madison Place, N.W., Washington, D.C. 20005. The courtroom location
will be posted in the lobby of the courthouse on the day of the argument.

       1.      Oral argument on defendant’s motion for partial summary judgment as to
               pooling-related claims will be held at 10:00 a.m. (EDT); plaintiff and
               defendant will be limited to one hour per side; the amici curiae will be
               limited to twenty minutes; and

       2.      Oral argument on defendant’s motion for partial summary judgment as to
               the disbursement lag claim will be held at 2:00 p.m. (EDT); plaintiff and
               defendant will be limited to one hour per side.

       IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
